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 2   BROWN LAW OFFICES
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     Las Vegas, NV 89101
 4   Telephone (702) 405-0505
     Facsimile (866) 215-8145
 5   Thelasvegasdefender@gmail.com
 6   Attorney for Defendant Joanna Perez

 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                    ***
10
                                                     )
11   UNITED STATES OF AMERICA                        )
                                                     )
12                   Plaintiff,                      )
             vs.                                     )               2:12-cr-00360-JCM-VCF
13                                                   )
                                                     )     CASE NO.: 2:11-CR-331
14   ROBERT PEREZ, et al.,
                                                     )
                                                     )
15                   Defendant.                      )     DEFENDANT JOANNA PEREZ’S
                                                     )     UNOPPOSED MOTION TO CONDUCT
16                                                         A PRE-PLEA PRESENTENCING
                                                     )
                                                     )     INVESTIGATION REPORT AND
17                                                         PROPOSED ORDER
                                                     )
18                                                   )

19
            Comes now, appointed counsel Phil Brown Esq., and hereby moves this Court request a
20
     Pre-Plea Pre-Sentence Investigation Report be prepared by the Probation department.
21
            1) It appears that defendant has no criminal history and may be eligible for a sentence
22
23   outside the applicable United States Sentencing Guideline (U.S.S.G.) range pursuant to

24   U.S.S.G. § 5C1.2, 18 U.S.C § 3553(f) and U.S.S.G. § 2D1.1(b)(6). Whether the defendant is
25
     eligible for the Safety Valve will drastically impact her sentencing exposure, negotiations, and
26
     client's decision as to how she should proceed. A pre-plea presentence report will promote
27
28   judicial economy and aid in the manner in which this case is ultimately resolved.


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 1          2) Undersigned counsel therefore respectfully requests an order that the Department of
 2   Probation conduct a pre-plea presentence investigation report as soon as possible.
 3
            3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney
 4
     Robert Knief regarding this request and he has no opposition.
 5
 6          DATED this 5th day of February, 2013.

 7
 8                                                        /s/Phil Brown
                                                          PHIL BROWN, ESQ.
 9
                                                          200 HOOVER AVE, UNIT #130
10                                                        LAS VEGAS, NEVADA 89101
                                                          ATTORNEY FOR THE DEFENDANT
11                                                        SCOTT WEST
12
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 5   Thelasvegasdefender@gmail.com
 6   Attorney for Defendant – Joanna Perez

 7                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 8
                                                 ***
 9
                                                  )
10   UNITED STATES OF AMERICA                     )
                                                  )
11                  Plaintiff,                    )     CASE NO.: 2:12-CR-360
            vs.                                   )
12                                                )
                                                  )     ORDER GRANTING DEFENDANT
     ROBERT PEREZ, et. al.,                             JOANNA PEREZ’S MOTION FOR
13                                                )
                                                  )     PRE-PLEA PRESENTENCE REPORT
14                                                )
                     Defendant.
                                                  )
15                                                )
                                                  )
16
            IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-Sentence
17
     Investigation Report on Defendant Joanna Perez.
18
19
                            22nd
            DATED this the ____ day of February, 2013.
20
21
22
23                                              ________________________________________
24                                              U.S. DISTRICT JUDGE
                                                     MAGISTRATE
25
26
27
28

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         Case 2:12-cr-00360-APG-VCF            Document 34        Filed 02/22/13     Page 4 of 4




 1
 2                                    CERTIFICATE OF SERVICE
 3
 4          The undersigned hereby certifies that he is an employee of Brown Law Offices,
 5   Chartered, and is a person of such age and discretion as to be competent to serve papers.
 6
            That on February 5, 2013, he served an electronic copy of the above and foregoing
 7
     UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCING
 8
 9   INVESTIGATION REPORT by electronic service (ECF) to the person named below:

10
11
                    DANIEL BOGDON
12                  United States Attorney

13                  ROBERT KNIEF
14                  Assistant United States Attorney
                    333 Las Vegas Blvd. So., 5th Floor
15                  Las Vegas, NV 89101
16
17
18                                                        /s/ Philip H. Brown
                                                          _________________________________
19                                                        Employee of Brown Law Offices, Chartered
20
21
22
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